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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION



Olga Martinez Torres, Linda Davis, Angel                Civil Action No.: 4:18-cv-00983-O
Alberio and Fernando Posso, on behalf of
themselves and all others similarly situated,

                      Plaintiffs,

             vs.

American Airlines, Inc., the Employee Benefits
Committee and John/Jane Does 1-5                        March 30, 2020

                      Defendant.



         MEMORANDUM OF LAW IN FURTHER SUPPORT OF PLAINTIFFS’
                        MOTION TO COMPEL

       Defendants’ opposition to Plaintiffs’ Motion to Compel fails to address the central point

raised in the Motion: Namely, that the Parties did not request bifurcated discovery and the Court

did not order it. Indeed, the Court could not have been any clearer on this point, explicitly stating

that “[t]his Order does not bifurcate discovery or bar discovery on the merits prior to the hearing

or ruling on class certification, and therefore discovery may proceed on any relevant topic now.”

Id. at 4 (emphasis in original). ECF No. 39 at 3. Defendants cannot square their objection with

the Court’s order and make no effort to try.

       Indeed, Defendants do not contest the key facts that support Plaintiffs’ motion. First, while

Defendants assert that it is “questionable” whether Plaintiffs would need the requested data to

prove damages (Def. Br. at 5), Defendants do not explain how Plaintiffs’ expert is supposed to

calculate the class’s damages without class member data. Plaintiffs’ counsel, and its expert, have




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calculated damages in a similar case. They know what is required for a damages calculation.

Defendants’ unsupported assertion that the Plaintiffs’ need for the data is “questionable” has no

foundation. The requested data is essential.

        Furthermore, while Defendants apparently fault Plaintiffs for not making an issue of their

objection at an earlier point in the litigation, they do not argue – nor can they – that Plaintiffs ever

agreed that they were not required to provide responsive documents in advance of a ruling on class

certification. As explained in the Declaration of Douglas P. Needham (“Needham Decl.”), ECF

No. 64-1, at paragraphs 6 and 7, Plaintiffs never made such an agreement.

        Defendants argue that if the Court grants the Motion to Compel, they should be permitted

a “reasonable time” to respond, noting that American Airlines is currently undergoing significant

difficulties because of the current COVID-19 epidemic. Def. Br. at 5-6. However, Defendants do

not contest that the requested data is readily available and contained in a computer database that

can be aggregated and produced in a single Excel document. See Needham Decl., at paragraph 2,

and Memorandum of Law in Support of Plaintiffs’ Motion to Compel, ECF No. 64, at 5.

Defendants make no effort to argue that obtaining the information is in any way difficult, or

involves personnel that are currently engaged in work that is impacted by the Covid-19 crisis.

Indeed, since third parties often serve as administrators and recordkeepers, it is not even clear that

any American Airlines employees would be involved in the production of the requested data.

Defendants make no effort, in short, to demonstrate that production of the requested data actually

poses any kind of burden. They simply don’t want to produce it. If Defendants are concerned that

five days might be insufficient, they could direct that the data be collected in advance of the Court’s

ruling on this Motion.




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       Plaintiffs are sensitive to the exigent circumstances facing American Airlines as a result of

the COVID-19 crisis. Indeed, they have already agreed to support Defendants’ request for a 90-

day extension of all deadlines in the case, which the Court granted this morning. Even that

extension will be insufficient, however, if Defendants are allowed to delay production of data that

Plaintiffs’ expert must have prior to submitting a final merits report.

       In summary, Defendants’ objection to producing the requested data is inconsistent with

this Court’s order and without merit. The requested data is necessary – indeed, critical – and it is

readily available to Defendants. Plaintiffs have not consented, and do not consent, to Defendants’

attempts to unilaterally rewrite the scheduling order. For these reasons, and for the reasons set

forth in Plaintiffs’ Motion and accompanying brief, Plaintiffs respectfully request that the Court

order Defendants to provide full and complete responses to Requests for Production 17, 18 and 33.


Dated: March 30, 2020                                 Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was served on all counsel of record on March 30,

2020, via CM/ECF, in accordance with the Federal Rules of Civil Procedure.



                                                      /s/ Joe Kendall
                                                     Joe Kendall




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